                             UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF NORTH CAROLINA
                                   DURHAM DIVISION


LUCIA BINOTTI, individually and on
behalf of all others similarly situated,   Case No. 1:20-cv-470

                 Plaintiff

            v.
                                           COMPLAINT - CLASS ACTION
DUKE UNIVERSITY                            DEMAND FOR JURY TRIAL

                 Defendant.




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            Lucia Binotti, individually and on behalf of a class of similarly situated
individuals, hereby states and alleges the following against Defendant Duke University
(“Duke”).

I.          SUMMARY OF THE ACTION
            1.     This class action challenges an illegal understanding between Duke and the
University of North Carolina, Chapel Hill (“UNC”), to suppress competition for each
other’s faculty (the “No-Poach Understanding”). The No-Poach Understanding covered
all faculty across the two universities. Duke and UNC first reached this understanding
long ago, no later than 1974. Senior administrators of both institutions periodically
reaffirmed and policed the understanding throughout the subsequent decades. The
express purpose of the No-Poach Understanding was to suppress the pay of Duke and
UNC faculty.
            2.     The No-Poach Understanding continued until no later than February 5,
2018, the effective date of the settlement reached between a class of medical faculty and
UNC, the University of North Carolina School of Medicine, the University of North
Carolina Health Care System, and Dr. William L. Roper in Seaman v. Duke University, et
al., 15-CV-462-CCE-JLW (M.D.N.C.) (“Seaman”). In that settlement, UNC agreed to a
Consent Decree prohibiting UNC from participating in the No-Poach Understanding or
anything like it, and requiring UNC to implement a variety of safeguards to ensure that
UNC complied. That Consent Decree was buttressed by a second settlement between the
medical faculty class and Duke and Duke University Health System, whereby Duke also
agreed not to participate in the No-Poach Understanding or anything like it, and to
undertake similar steps to ensure compliance. The Duke settlement also included a
robust role for the United States Department of Justice to ensure that the No-Poach
Understanding ended and would not be reinstated.




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            3.   The Duke Seaman settlement released claims of faculty with an academic
appointment at the Duke or UNC Schools of Medicine, who were employed by either
institution from January 1, 2012 through June 4, 2019. Neither the Duke nor UNC
Seaman settlements released the claims of the alleged class in this action against Duke.
The purpose of this action is to seek damages on behalf of injured Duke and UNC faculty
who are not members of the Seaman settlement class.
            4.   The purpose of the Seaman litigation was to pursue claims of a class of
medical faculty. In the course of that case, evidence of a much broader understanding
between Duke and UNC came to light, and was made public for the first time on August
25, 2017, when filings related to class certification were added to the public docket. Prior
to that date, members of the class alleged here had no reason to know that the No-Poach
Understanding extended beyond the two medical schools. Further, as alleged in more
detail below, Duke and UNC took affirmative steps to conceal their misconduct from the
class.
            5.   The No-Poach Understanding restrained trade and was per se unlawful
under federal and North Carolina law. Plaintiff seeks damages for violations of: Section
1 of the Sherman Act, 15 U.S.C. § 1, and North Carolina General Statutes §§ 75-1 and
75-2.

II.         JURISDICTION AND VENUE
            6.   Plaintiff brings this action to recover treble damages, costs of suit, and
reasonable attorneys’ fees, arising from Duke’s violations of Section 1 of the Sherman
Act, 15 U.S.C. § 1, and North Carolina General Statutes §§ 75-1 and 75-2.
            7.   The Court has subject matter jurisdiction pursuant to Sections 4 and 16 of
the Clayton Act (15 U.S.C. §§ 15 and 26) and 28 U.S.C. §§ 1331, 1337, and 1367.
            8.   Venue is proper in this judicial district pursuant to Section 12 of the
Clayton Act (15 U.S.C. § 22) and 28 U.S.C. § 1391(b), (c), and (d) because a substantial



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part of the events giving rise to Plaintiff’s claims occurred in this district, a substantial
portion of the affected interstate trade and commerce was carried out in this district, and
Duke resides in this District.

III.        THE PARTIES
            A.    Plaintiff
            9.    Plaintiff Lucia Binotti is a citizen and resident of the State of North
Carolina. Professor Binotti has been a Professor of Spanish at the University of North
Carolina, Chapel Hill since 1990 in UNC’s Department of Romance Studies. Professor
Binotti was injured in her business or property by reason of the violation alleged herein.

            B.    Defendant
            10.   Defendant Duke University is a private, tax-exempt, non-profit university
with its principal place of business in Durham, North Carolina, that owns and operates
educational and research facilities.

            C.    Unnamed Co-Conspirators
            11.   UNC is a public university incorporated under North Carolina law and a
constituent institution of the University of North Carolina System, which was created
pursuant to statute by the North Carolina General Assembly. See generally N.C. Gen.
Stat. § 116-1, et seq. UNC has its principal place of business in Chapel Hill, Orange
County, North Carolina.

IV.         CLASS ACTION ALLEGATIONS
            12.   Plaintiff brings this action on behalf of herself and all others similarly
situated (the “Proposed Class”) pursuant to Federal Rules of Civil Procedure 23(a),
23(b)(2), and 23(b)(3). The Proposed Class is defined as follows:

                  All natural persons employed by Duke University or the
                  University of North Carolina, Chapel Hill from the start of the
                  No-Poach Understanding (to be determined from further
                  discovery) through February 5, 2018, as a faculty member.
                  Excluded from the Class are: members of the boards of
                  directors and boards of trustees, boards of governors, and


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                  senior administrators of Duke and UNC; and any and all
                  judges and justices, and chambers’ staff, assigned to hear or
                  adjudicate any aspect of this litigation.

            13.   Plaintiff does not, as yet, know the exact size of the Proposed Class because
such information is in the exclusive control of Duke and UNC. Based upon publically
available information, there are at least thousands of Class members. Joinder of all
members of the Class, therefore, is not practicable.
            14.   The questions of law or fact common to the Class include but are
not limited to:
                  a.     whether Duke and UNC had a No-Poach Understanding between
approximately 2001 and February 5, 2018;
                  b.     whether Duke and UNC concealed the existence of the No-Poach
Understanding from members of the Proposed Class;
                  c.     whether Duke’s conduct violated the Sherman Act;
                  d.     whether the No-Poach Understanding is a per se violation of the
Sherman Act;
                  e.     whether Duke violated N.C. Gen. Stat. §§ 75-1 and 75-2;
                  f.     whether the No-Poach Understanding is a per se violation of N.C.
Gen. Stat. §§ 75-1 and 75-2;
                  g.     whether the No-Poach Understanding restrained trade, commerce, or
competition for faculty between Duke and UNC;
                  h.     whether Plaintiff and the Proposed Class have suffered antitrust
injury; and
                  i.     the difference between the total compensation Plaintiff and the
Proposed Class received from Duke and UNC, and the total compensation Plaintiff and
the Proposed Class would have received from Duke and UNC in the absence of the No-
Poach Understanding.


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            15.   These and other questions of law and fact are common to the Proposed
Class, and predominate over any questions affecting only individual members of the
Proposed Class.
            16.   Plaintiff’s claims are typical of the claims of the Proposed Class.
            17.   Plaintiff will fairly and adequately represent the interests of the Proposed
Class and has no conflict with the interests of the Proposed Class.
            18.   Plaintiff has retained counsel experienced in antitrust and class action
litigation to represent herself and the Proposed Class.
            19.   This class action is superior to the alternatives, if any, for the fair and
efficient adjudication of this controversy. Prosecution as a class action will eliminate the
possibility of repetitive litigation. There will be no material difficulty in the management
of this action as a class action. By contrast, prosecution of separate actions by individual
members of the Proposed Class would create the risk of inconsistent or varying
adjudications, and be inefficient and burdensome to the parties and the Court.

V.          FACTUAL ALLEGATIONS
            A.    Trade and Commerce
            20.   During the Class Period, Duke and UNC employed members of the
Proposed Class in North Carolina, including in this judicial district.
            21.   The No-Poach Understanding has substantially affected interstate
commerce throughout North Carolina and the United States, and has caused antitrust
injury throughout North Carolina and the United States.

            B.    Competition For Academic Faculty Between Duke and UNC
            22.   Duke and UNC are the leading employers of academic faculty in North
Carolina. No other employer of academic faculty in North Carolina offers the prestige,
research support, or quality of academic culture that Duke and UNC provide.




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            23.   In a properly functioning and lawfully competitive labor market, Duke and
UNC would compete for faculty members by recruiting and hiring from each other,
particularly because Duke and UNC are only about 14 miles apart, well-within
commuting distance. The consequence of this proximity on competition for faculty is
profound. Any other potential employer with similar prestige, research support, and
quality of academic culture would require a faculty member to move to a distant city.
This involves significant costs, such as uprooting a family, finding new schools for
children, finding new places of worship, and finding alternative employment for a
spouse. None of these costs would occur if a faculty member switched between Duke
and UNC. As a result, but for the No-Poach Understanding, Duke and UNC would have
been very important competitors for faculty, and their competition would have driven up
faculty pay.
            24.   Duke and UNC hired junior faculty immediately after the new hires
received their relevant graduate degrees, but these hires require training, and have no
track record as a faculty member from which Duke and UNC could accurately and
confidently predict job performance. Such junior hires also require supervision,
particularly as they seek to attain tenure. Further, tenure reviews themselves are labor-
intensive and costly for the hiring institution to conduct. Hiring experienced faculty, by
contrast, results in a faculty member with a proven track record of success. Faculty hired
directly into a tenured position require far less supervision and training than junior
faculty hired directly from their graduate program. But for the No-Poach Understanding,
therefore, Duke and UNC would have recruited and hired experienced faculty from each
other.
            25.   Competition for faculty via recruiting and lateral hiring has a significant
impact on faculty compensation in a variety of ways. First, when faculty employers
become aware of attractive outside opportunities for their faculty, the threat of losing



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faculty to competitors encourages employers to preemptively increase compensation to
increase morale and competitive positioning, and ultimately to retain valuable faculty. If
faculty employers do not react to competition, their faculty may seek positions that offer
more generous compensation and benefits elsewhere, or may be receptive to recruiting by
a rival employer. Once a faculty member has received an offer from a rival, retaining the
faculty member may require a disruptive increase in compensation for one individual, if
retention is possible at all. Faculty employers therefore have an incentive to preempt
lateral departures by paying all faculty well enough that they are unlikely to seek or
pursue outside opportunities. Preemptive retention measures thus lead to increased
compensation for all faculty.
            26.   Second, the availability of desirable positions at competing employers
forces employers to reactively increase compensation to retain faculty who are likely to
join a competitor institution. This can occur both when a particular faculty member or
group of faculty become interested in switching employers and the current employer
responds by offering a compensation increase to retain them, or when an employer
responds to overall attrition rates among its faculty by increasing compensation levels. In
the former case, even a targeted increase designed to retain specific faculty members will
put upward pressure on the entire faculty compensation structure.
            27.   The positive compensation effects of hiring faculty from competitors are
not limited to the particular individuals who seek new employment, or to the particular
individuals who would have pursued new positions but for the No-Poach Understanding.
Instead, the effects of recruiting and hiring from competitors (and the effects of
suppressing recruiting and hiring, pursuant to agreement) commonly impact all faculty of
the participating institutions.
            28.   Duke and UNC carefully monitored and managed their internal
compensation levels to achieve certain goals, including:



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                  a.    maximize both internal and external equity;
                  b.    maintain approximate compensation parity among faculty within the
same department and seniority categories (for example, among Assistant Professors in the
English Department);
                  c.    maintain certain compensation relationships among faculty across
different categories (for example, among Assistant Professors relative to Associate
Professors, or between the Biology and Chemistry Departments);
                  d.    avoid discrimination on the basis of race and gender;
                  e.    maintain high faculty morale and productivity;
                  f.    retain faculty; and
                  g.    attract new and talented faculty.
            29.   To accomplish these objectives, Duke and UNC set compensation levels for
different faculty categories that apply to all faculty within those categories. Duke and
UNC also compared compensation levels across different faculty categories to ensure
equity as between categories. Duke and UNC also analyze and update their faculty
compensation structures annually, in a process that involves the very senior
administrators who entered into, implemented, and enforced the No-Poach
Understanding.
            30.   While Duke and UNC sometimes engaged in negotiations regarding
compensation levels with individual faculty members, these negotiations occurred from a
starting point of the pre-existing and pre-determined compensation level. The eventual
compensation any particular faculty receives is either entirely determined by the preset
level, or is profoundly influenced by it.
            31.   Thus, if operating under competitive and lawful conditions, Duke and UNC
would have recruited and hired faculty from each other, driving faculty pay up. Duke




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and UNC both understood this at the time, and avoided paying their faculty more by
entering into the No-Poach Understanding.

            C.    Duke And UNC Had A Decades-Long Understanding Not To Compete
                  For Each Other’s Faculty
            32.   Duke senior administrators discussed the No-Poach Understanding at a
Dean’s Cabinet meeting on October 1, 2001. Attendees included Kate Bartlett (then
Dean of Duke Law School), Doug Breeden (then Dean of Duke School of Business), Bill
Chafe (then Dean of the Duke Faculty of Arts and Sciences and Vice-Provost for
Undergraduate Education), Rob Clark (then Dean of the Duke School of Engineering),
Greg Jones (then Dean of the Duke Divinity School), Nannerl Keohane (then President of
Duke), Peter Lange (then Duke Provost), Bill Schlesinger (then Dean of the Duke School
of the Environment), Lew Siegel (then Dean of the Duke Graduate School), and Tallman
Trask (then Duke’s Executive Vice President and Treasurer). The first item of business
at the meeting was to discuss “Agreements Between Duke/UNC Regarding Recruiting”,
and the minutes confirm: “There has been a casual understanding between Duke and
UNC that no recruiting would take place between the two institutions.” The minutes
further explain: “It is mutually advantageous to both schools to adhere to this practice.”
            33.   The No-Poach Understanding continued well past 2001, and was enforced
by many of the same senior administrators who attended the October 1, 2001 Dean’s
Cabinet meeting. For example, in 2011, Duke’s Lange discussed the matter in-person
with UNC’s Chancellor, Holden Thorpe. Thorpe testified that Lange told him: “we
[UNC] should not be trying to move Duke faculty to UNC because if we did, Duke had a
lot more money than we did and we were going to come out on the losing end of that
deal.” Internal UNC emails exchanged with Thorpe thereafter referenced the No-Poach
Understanding.
            34.   The express purpose of the No-Poach Understanding was to suppress pay
of the alleged class as a whole, not simply to restrict the mobility of individual faculty


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members. For example, in 1995, Thomas Keller, who was then Dean of Duke School of
Business, wrote Keohane to complain that his counterpart at UNC was recruiting Duke
faculty in violation of the No-Poach Understanding. Keller explained that, while Duke
“could certainly make a decision that we want to keep a person and raise their salary, . . .
this creates an internal inequity and is difficult in this environment when we have fairly
low raises overall. This type of situation is likely to lead to bad internal attitudes.”
Keller’s solution was not to compete against UNC and raise faculty pay. Instead, he
asked Keohane to get the UNC Chancellor to “abide by our inter-institutional agreements
of not aggressively seeking faculty and staff from the other institution which basically
has the end result of increasing salaries at both institutions with no net increase in the
quality of the faculty/staff and/or the productivity of the faculty/staff.”
            35.   At the time, Keller also confirmed to Keohane that the No-Poach
Understanding had been in place for decades. He wrote to her: “I can say that I have
been informed, ever since I’ve been the Dean, we have an agreement with UNC that we
will not aggressively seek faculty or staff between our institutions.” Keller had been the
Dean of Duke School of Business since 1974.

            D.    Duke and UNC Concealed The No-Poach Understanding From the
                  Class, Including Plaintiff
            36.   Duke and UNC actively concealed their No-Poach Understanding from the
Proposed Class, including Plaintiff. For example, it was the practice of both entities not
to disclose the existence of the No-Poach Understanding to their faculty or to the public.
Yet, behind the scenes, when faculty from one school attempted to apply to the other,
administrators at both institutions often engaged in secret back-channel communications
concerning the applicant as a means of enforcing and abiding by the No-Poach
Understanding—without the applicant’s knowledge. Further, Duke and UNC
affirmatively avoided memorializing the No-Poach Understanding in a written agreement
despite its multi-decade duration, opting instead to train new administrators about the


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agreement’s existence on a primarily verbal basis. The reason for this practice was to
avoid alerting the Proposed Class of the No-Poach Understanding’s existence and, thus,
to deter potential litigation. The minutes of the 2001 Dean’s Cabinet Meeting regarding
the No-Poach Understanding, for example, state that “[t]he President would like to see
this policy in writing as a goodwill policy and will consult with the Counsel’s Office to
see if this is an appropriate action.” Yet the policy was never formalized in writing—
perhaps at the advice of counsel.
            37.   But for discovery made public from the Seaman case, Plaintiff would have
remained unaware that the No-Poach Understanding occurred. Because of the secrecy of
the No-Poach Understanding and Duke and UNC’s acts of concealment, Plaintiff and the
proposed Class did not and could not have known that UNC and Duke were engaged in
an illegal conspiracy to suppress faculty wages by restraining recruitment and hiring of
one another’s faculty prior to August 25, 2017. Further, the secrecy of the No-Poach
Understanding and Defendants’ acts of concealment would have thwarted any reasonable
effort to discover the No-Poach Understanding prior to August 25, 2017.

                                 FIRST CLAIM FOR RELIEF
                               (Violation of the Sherman Act, § 1)
            38.   Plaintiff, on behalf of herself and all others similarly situated, realleges and
incorporates herein by reference each of the allegations contained in the preceding
paragraphs of this Complaint, and further allege against Duke as follows.
            39.   Duke and UNC entered into and engaged in unlawful agreements in
restraint of the trade and commerce described above in violation of Section 1 of the
Sherman Act, 15 U.S.C. § 1. Beginning no later than 2001 and continuing until
approximately February 5, 2018, Duke and UNC engaged in continuing trusts in restraint
of trade and commerce in violation of Section 1 of the Sherman Act.
            40.   Duke and UNC’s agreements have included concerted action and
undertakings among them with the purpose and effect of: (a) fixing the compensation of


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Plaintiff and the Class at artificially low levels; and (b) eliminating, to a substantial
degree, competition between Duke and UNC for faculty.
            41.   As a direct and proximate result of Duke and UNC’s No-Poach
Understanding, members of the Proposed Class have suffered injury to their property and
have been deprived of the benefits of free and fair competition on the merits.
            42.   The unlawful No-Poach Understanding had the following effects, among
others:
                  a.    competition between Duke and UNC for faculty was suppressed,
restrained, or eliminated; and
                  b.    Plaintiff and members of the Proposed Class have received lower
compensation from Duke and UNC than they otherwise would have received in the
absence of the No-Poach Understanding, and, as a result, have been injured in their
property and have suffered damages in an amount according to proof at trial.
            43.   The acts done by Duke and UNC as part of, and in furtherance of, their
contracts, combinations or conspiracies were authorized, ordered, or done by their
respective administrators while actively engaged in the management of Duke and UNC’s
affairs.
            44.   The No-Poach Understanding is a per se violation of Section 1 of the
Sherman Act.
            45.   Accordingly, Plaintiff and members of the Proposed Class seek three times
their damages caused by Duke and UNC’s violations of Section 1 of the Sherman Act,
the costs of bringing suit, reasonable attorneys’ fees, and a declaration that such
agreement is unlawful.




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                               SECOND CLAIM FOR RELIEF
                          (Violation of N.C. Gen. Stat. §§ 75-1 & 75-2)
            46.   Plaintiff, on behalf of herself and all others similarly situated, realleges and
incorporates herein by reference each of the allegations contained in the preceding
paragraphs of this Complaint, and further allege against Defendant Duke as follows.
            47.   Duke and UNC entered into and engaged in unlawful agreements in
restraint of the trade and commerce described above in violation of N.C. Gen. Stat.
§§ 75-1 and 75-2.
            48.   Duke and UNC’s agreements have included concerted action and
undertakings among them with the purpose and effect of: (a) fixing the compensation of
Plaintiff and the Class at artificially low levels; and (b) eliminating, to a substantial
degree, competition between Duke and UNC for faculty.
            49.   As a direct and proximate result of Duke and UNC’s No-Poach
Understanding, members of the Proposed Class have suffered injury to their property and
have been deprived of the benefits of free and fair competition on the merits.
            50.   The unlawful No-Poach Understanding had the following effects, among
others:
                  a.     competition between Duke and UNC for faculty was suppressed,
restrained, or eliminated; and
                  b.     Plaintiff and members of the Proposed Class have received lower
compensation from Duke and UNC than they otherwise would have received in the
absence of the No-Poach Understanding, and, as a result, have been injured in their
property and have suffered damages in an amount according to proof at trial.
            51.   The acts done by Duke and UNC as part of, and in furtherance of, their
contracts, combinations or conspiracies were authorized, ordered, or done by their
respective administrators while actively engaged in the management of Duke and UNC’s
affairs.


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            52.   The No-Poach Understanding is a per se violations of N.C. Gen. Stat.
§§ 75-1 and 75-2.
            53.   Accordingly, Plaintiff and members of the Class seek three times their
damages caused by Duke and UNC’s violations of N.C. Gen. Stat. §§ 75-1 and 75-2, the
costs of bringing suit, reasonable attorneys’ fees, and a declaration that such agreement is
unlawful.

                                     PRAYER FOR RELIEF
            WHEREFORE, Plaintiff prays that this Court enter judgment on her behalf and
that of the Proposed Class by adjudging and decreeing that:
            A.    This action may be maintained as a class action, with Plaintiff as the
designated Class representative and their counsel as Class counsel;
            B.    Duke engaged in a trust, contract, combination, or conspiracy in violation
of Section 1 of the Sherman Act and N.C. Gen. Stat. §§ 75-1 and 75-2, and that Plaintiff
and the members of the Proposed Class have been damaged and injured in their business
and property as a result of this violation;
            C.    The alleged combinations and conspiracy be adjudged and decreed to be
per se violations of the Sherman Act and N.C. Gen. Stat. §§ 75-1 and 75-2;
            D.    Plaintiff and the members of the Proposed Class she represents recover
threefold the damages determined to have been sustained by them as a result of the
conduct of Duke and UNC complained of herein, and that judgment be entered against
Duke for the amount so determined;
            E.    Judgment be entered against Duke in favor of Plaintiff and each member of
the Proposed Class she represents, for restitution and disgorgement of ill-gotten gains as
allowed by law and equity as determined to have been sustained by them, together with
the costs of suit, including reasonable attorneys’ fees;
            F.    For prejudgment and post-judgment interest;



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            H.     For equitable relief, including a judicial determination of the rights and
responsibilities of the parties;
            I.     For attorneys’ fees;
            J.     For costs of suit; and
            K.     For such other and further relief as the Court may deem just and proper.

                                            JURY DEMAND
            Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff demands a jury trial
for all claims and issues so triable.




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Dated: May 27, 2020              Respectfully submitted,

                                 /s/ Dean M. Harvey

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